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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CALEB BARNETT, et al.,                    Case No.: 3:23-cv-209-SPM
           Plaintiffs,                     ** designated Lead Case
      Vs.
 KWAME RAOUL, et al.,
           Defendants.

 DANE HARREL, et al.,                      Case No. 3:23-cv-141-SPM
          Plaintiffs,
      Vs.
 KWAME RAOUL, et al.,
          Defendants.

 JEREMY W. LANGLEY, et al.,                Case No. 3:23-cv-192-SPM
           Plaintiffs,
      Vs.
 BRANDAN KELLY, et al.,
           Defendants.

 FEDERAL FIREARMS                          Case No. 3:23-cv-215-SPM
 LICENSEES OF ILLINOIS, et al.,
           Plaintiffs,
      Vs.
 JAY ROBERT “JB” PRITZKER, et al.,
           Defendants.


        DEFENDANTS‘ PATRICK D. KENNEALLY, STATE’S ATTORNEY OF
     MCHENRY COUNTY, AND ROBB TADELMAN, SHERIFF OF MCHENRY
      COUNTY, RESPONSE TO PLAINTIFF’S MOTION FOR PRELIMINARY
                            INJUNCTION


      Defendants, Patrick Kenneally, State’s Attorney of McHenry County, on behalf of

the People of McHenry County, and ROBB TADELMAN, in his official capacity as

Sheriff of McHenry County, Illinois Defendants Kenneally and Tadelman are

collectively hereinafter referred to as the “McHenry County Defendants”), and state in

their Response to Plaintiffs ’Motion for Preliminary Injunction as follows:
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I.     The Second Amendment.

       The Second Amendment to the United States Constitution states “A well regulated

Militia, being necessary to the security of a free State, the right of the people to keep and

bear Arms, shall not be infringed.“

       In District of Columbia v. Heller, 554 U.S. 570 (2008), the United States Supreme

Court held that a statute which banned handgun possession in the home and prohibited

the rendering of a firearm in the home operable for the purpose of immediate self-

defense, violated the Second Amendment. In striking down the statute, the Supreme

Court recognized the Second Amendment as a core protection within the Constitution,

stating “There seems to us no doubt, on the basis of both text and history, that the Second

Amendment conferred an individual right to keep and bear arms.” Id., 595. The Heller

Court went on to hold that the Second Amendment protects the right to possess a

handgun in the home for the purpose of self-defense.

       In McDonald v. City of Chicago, 130 S.Ct. 3020 (2010), the United States Supreme

Court struck down a handgun ban enacted by the City of Chicago based upon the Second

Amendment. In so doing, the Supreme Court held that the Second Amendment was

among those fundamental rights necessary to our system of ordered liberty, and, as such,

that the right to bear arms was incorporated into the Fourteenth Amendment’s Due

Process Clause and made mandatory upon the states.

       Numerous cases involving the right to bear arms were decided since the Supreme

Court’s decisions in Heller and McDonald. Courts throughout the nation articulated


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divergent analytical standards attempting to define the manner in which the government

could enact limitations on a citizen’s right to bear arms. The U.S. Supreme Court ended

that debate in June 2022 when it decided New York State Rifle & Pistol Ass'n v. Bruen, 142

S. Ct. 2111 (2022).

       In Bruen, a firearm applicant who wanted to possess a firearm at home (or in his

place of business), was required to prove to a licensing officer that, he was of good moral

character, had no history of crime or mental illness, and that no good cause existed for

the denial of a firearm license. If he wanted to carry a firearm outside his home or place

of business for self-defense, the applicant was required to obtain an unrestricted license

to have and carry a concealed handgun; in order to do so, the applicant had to prove that

proper cause existed to issue it. Id., 2117.

       In holding that the New York regulation was an unconstitutional violation of the

right to bear arms, the court defined the minimum level of protections that a government

has to guarantee its citizens to avoid violating the Second Amendment. Specifically, the

court held that “When the Second Amendment’s plain text covers an individual’s

conduct, the Constitution presumptively protects that conduct. The government must

then justify its regulation by demonstrating that it is consistent with the nation’s historical

tradition of firearm regulation.” Id., 2129–30. The court went on to state that courts

considering challenged Second Amendment regulation should determine whether




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“modern and historical regulations impose a comparable burden on the right of armed

self-defense and whether that burden is comparably justified. Id., 2133.

          As will be explained below, Illinois Public Act 102-1116 (the “Act”) cannot

withstand scrutiny under this standard.

II.       The Assault Weapons Ban Under the Act.

          The Act enacted a ban on “assault weapons,” which are in fact common

semiautomatic firearms, and criminalized any act to “manufacture, deliver, sell, import,

purchase, or possess said firearms” in Illinois, pursuant to 720 ILCS 5/24-1.9 (“the Firearm

Ban”). The Firearm Ban applies to “any person” within the State of Illinois and excepts

from its sweep only current and retired law enforcement officers, government agencies,

prison officials, members of the military, and certain private security contractors. 720

ILCS 5/24-1.9(e)(1)-(7). Any ordinary person in Illinois who legally possessed an “assault

weapon” before the effective date of the Act is required to register the firearm with the

Illinois State Police, can only possess it on a very limited set of locations, and may

transport them only to and from those locations, unloaded and in a case. 720 ILCS 5/24-

1.9(d).

          A first-time violation of the prohibition on possession constitutes a Class A

misdemeanor. A first-time violation of the prohibition on manufacture, sale, deliver,

import, and purchase constitutes a Class 3 felony. 720 ILCS 5/24-1(b).




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       The Firearm Ban defines an “assault weapon” and bans any semiautomatic rifle

with the capacity to accept a magazine holding more than ten rounds of ammunition, if

it has any one of the following features:

       (i) a pistol grip or thumbhole stock;
       (ii) any feature capable of functioning as a protruding grip that can be held by
       the non- trigger hand;
       (iii) a folding, telescoping, thumbhole, or detachable stock, or a stock that is
       otherwise foldable or adjustable in a manner that operates to reduce the length,
       size, or any other dimension, or otherwise enhances the concealability of, the
       weapon;
       (iv) a flash suppressor;
       (v) a grenade launcher;

       (vi) a shroud attached to the barrel or that partially or completely encircles the
       barrel, allowing the bearer to hold the firearm with the non-trigger hand without
       being burned, but excluding a slide that encloses the barrel. 720 ILCS 5/24-1.9(a)
       (1)(A).

       Additionally, the Act bans “any part or combination of parts designed or intended

to convert a firearm into an assault weapon, including any combination of parts from

which an assault weapon may be readily assembled if those parts are in the possession

or under the control of the same person.” 720 ILCS 5/24-1.9(a)(1)(I).

       Finally, the Act specifically enumerates banned “assault weapons” (including

copies, duplicates, variants, and altered facsimiles). The specifically banned firearms are

as follows:

       (i) All AK types, including the following:

              (I) AK, AK47, AK47S, AK–74, AKM, AKS, ARM, MAK90, MISR, NHM90,
                     NHM91, SA85, SA93, Vector Arms AK–47, VEPR, WASR–10, and
WUM.
              (II) IZHMASH Saiga AK.
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             (III) MAADI AK47 and ARM.
             (IV) Norinco 56S, 56S2, 84S, and 86S.
             (V) Poly Technologies AK47 and AKS.
             (VI) SKS with a detachable magazine.

      (ii) all AR types, including the following:

             (I) AR–10.
             (II) AR–15.
             (III) Alexander Arms Overmatch Plus 16.
             (IV) Armalite M15 22LR Carbine.
             (V) Armalite M15–T.
             (VI) Barrett REC7.
             (VII) Beretta AR–70.
             (VIII) Black Rain Ordnance Recon Scout.
             (IX) Bushmaster ACR.
             (X) Bushmaster Carbon 15.
             (XI) Bushmaster MOE series.
             (XII) Bushmaster XM15.
             (XIII) Chiappa Firearms MFour rifles.
             (XIV) Colt Match Target rifles.
             (XV) CORE Rifle Systems CORE15 rifles.
             (XVI) Daniel Defense M4A1 rifles.
             (XVII) Devil Dog Arms 15 Series rifles.
             (XVIII) Diamondback DB15 rifles.
             (XIX) DoubleStar AR rifles.
             (XX) DPMS Tactical rifles.
             (XXI) DSA Inc. ZM–4 Carbine.
             (XXII) Heckler & Koch MR556.
             (XXIII) High Standard HSA–15 rifles.
             (XXIV) Jesse James Nomad AR–15 rifle.
             (XXV) Knight's Armament SR–15.
             (XXVI) Lancer L15 rifles.
             (XXVII) MGI Hydra Series rifles.
             (XXVIII) Mossberg MMR Tactical rifles.
             (XXIX) Noreen Firearms BN 36 rifle.
             (XXX) Olympic Arms.
             (XXXI) POF USA P415.
             (XXXII) Precision Firearms AR rifles.
             (XXXIII) Remington R–15 rifles.


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            (XXXIV) Rhino Arms AR rifles.
            (XXXV) Rock River Arms LAR–15 or Rock River Arms LAR–47.
            (XXXVI) Sig Sauer SIG516 rifles and MCX rifles.
            (XXXVII) Smith & Wesson M&P15 rifles.
            (XXXVIII) Stag Arms AR rifles.
            (XXXIX) Sturm, Ruger & Co. SR556 and AR–556 rifles.
            (XL) Uselton Arms Air-Lite M–4 rifles.
            (XLI) Windham Weaponry AR rifles.
            (XLII) WMD Guns Big Beast.
            (XLIII) Yankee Hill Machine Company, Inc. YHM–15 rifles.

      (iii) Barrett M107A1.
      (iv) Barrett M82A1.
      (v) Beretta CX4 Storm.
      (vi) Calico Liberty Series.
      (vii) CETME Sporter.
      (viii) Daewoo K–1, K–2, Max 1, Max 2, AR 100, and AR 110C.
      (ix) Fabrique Nationale/FN Herstal FAL, LAR, 22 FNC, 308 Match, L1A1 Sporter,
      PS90, SCAR, and FS2000.
      (x) Feather Industries AT–9.
      (xi) Galil Model AR and Model ARM.
      (xii) Hi-Point Carbine.
      (xiii) HK–91, HK–93, HK–94, HK–PSG–1, and HK USC.
      (xiv) IWI TAVOR, Galil ACE rifle.
      (xv) Kel-Tec Sub-2000, SU–16, and RFB.
      (xvi) SIG AMT, SIG PE–57, Sig Sauer SG 550, Sig Sauer SG 551, and SIG MCX.
      (xvii) Springfield Armory SAR–48.
      (xviii) Steyr AUG.
      (xix) Sturm, Ruger & Co. Mini-14 Tactical Rifle M–14/20CF.
      (xx) All Thompson rifles, including the following:

            (I) Thompson M1SB.
            (II) Thompson T1100D.
            (III) Thompson T150D.
            (IV) Thompson T1B.
            (V) Thompson T1B100D.
            (VI) Thompson T1B50D.
            (VII) Thompson T1BSB.
            (VIII) Thompson T1–C.
            (IX) Thompson T1D.
            (X) Thompson T1SB.
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              (XI) Thompson T5.
              (XII) Thompson T5100D.
              (XIII) Thompson TM1.
              (XIV) Thompson TM1C.

       (xxi) UMAREX UZI rifle.
       (xxii) UZI Mini Carbine, UZI Model A Carbine, and UZI Model B Carbine.
       (xxiii) Valmet M62S, M71S, and M78.
       (xxiv) Vector Arms UZI Type.

       (xxv) Weaver Arms Nighthawk.
       (xxvi) Wilkinson Arms Linda Carbine. 720 ILCS 5/24-1.9(a)(1)(J).


       Semiautomatic rifles “traditionally have been widely accepted as lawful

possessions,” see Staples v. United States, 511 U.S. 600, 612 (1994) (so classifying an AR-15

semiautomatic rifle), and they are in common use, see Heller v. Dist. of Columbia, 670 F.3d

1244, 1261 (D.C. Cir. 2011) (“Heller II”) (“We think it clear enough in the record that semi-

automatic rifles . . . are indeed in ‘common use’ as the plaintiffs contend.”).

              “AR” is short for ArmaLite Rifle; ArmaLite is a manufacturer that originally

designed the platform. Rifles built on an AR platform are the exact type of firearm that

the Act bans. AR-15 rifles are among the most popular firearms in the nation. Recent

firearms research indicates that over 24.6 million Americans have owned AR-15 or similar

modern semiautomatic rifles. William English, PhD, 2021 National Firearms Survey:

Updated Analysis Including Types of Firearms Owned at 2, 33 (May 13, 2022), (“Exhibit A”).

       Approximately 20% of all firearms sold in recent years were rifles of the type

banned by Public Act 102-1116. NAT’L SHOOTING SPORTS FOUND., INC., Firearms

Retailer Survey Report, 2021 at 9, (“Exhibit B”).
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       In 2020, more than 20 million adults participated in target or sport shooting with

semiautomatic rifles like those banned by Public Act 102-1116. NAT’L SHOOTING

SPORTS FOUND., INC., Sport Shooting Participation in the U.S. in 2020 at iii, (“Exhibit C”).

       The banned semiautomatic firearms fire only one round for each trigger pull. They

are not machine guns. Staples, 511 U.S. at 620 n.1.

       While a semi-automatic rifle built on the AR platform can only fire as frequently

as a person can pull its trigger, an M249 light machine gun, commonly used by the U.S.

military, can fire between 750 and 1,000 rounds per minute, MILITARY ANALYSIS

NETWORK, Squad Automatic Weapon (SAW), M249 Light Machine Gun, (“Exhibit D”).

“Heavy” machine guns like the M61 series can fire significantly larger caliber ammunition

(20mm) much faster yet (6,000 rounds per minute), MILITARY ANALYSIS NETWORK,

GAU-4mm Vulcan M61A1/M61A2 20mm Automatic Gun, (“Exhibit E”).

       The most critical common use of the firearms banned by The Act is self-defense. A

majority of owners of AR-style rifles said that they owned their firearms for self- defense.

English, 2021 National Firearms Survey, supra, at 34 (61.9% owned for home defense; 34.6%

owned for defense outside the home), (Exhibit A).

       Owners of AR-15s and other similar rifles graded for self-defense as over 8 out of

10 in importance for owning them; this rating was the second-highest rating after

recreational target shooting. NAT’L SHOOTING SPORTS FOUND., INC., Modern

Sporting Rifle: Comprehensive Consumer Report 18 (July 14, 2022), (“Exhibit F”) .


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       An AR-style rifle is an ideal firearm for home defense. Most AR-style firearms are

chambered for 5.56x45mm NATO, which is similar to .223 Remington ammunition. This

is a relatively inexpensive and common cartridge that is particularly well suited for

home-defense purposes because it has sufficient stopping power in the event of a home

intrusion, but quickly loses velocity after passing through a target.

       Most handgun rounds have greater mass, maintain velocity after passing through

objects, and pose significantly greater risks to unintended targets in the home. Like the

AR-15, many of the specific features banned by the Act assist in home defense. A flash

suppressor, for example, not only reduces the chances that a home-invader will identify

his victim’s position but also protects a homeowner against momentary blindness when

firing in self-defense. David B. Kopel, Rational Basis Analysis of “Assault Weapon”

Prohibition, 20 J. CONTEMP. L. 381, 397 (1994), (“Exhibit G”).

       Folding and telescoping stocks increase the likelihood of successful home defense

by permitting safe storage of defense instruments in accessible spaces and making the

rifle maneuverable in confined spaces. Id. at 398–99. A telescoping stock also allows a

firearm to be better fitted to an individual user, enhancing the ability of an individual to

use the firearm safely. Pistol grips improve accuracy, reducing the risk of errant shots by

stabilizing the firearm while firing from the shoulder. Id. at 396.

       Detachable magazines not only aid in reloading a firearm in tense defensive

situations, but often are necessary to safely and quickly remedy malfunctions.


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       Home defense situations are not rare.          According to a report by the U.S.

Department of Justice, Bureau of Justice Statistics, household members are present for

almost a third of all burglaries and become victims of violent crimes in more than a

quarter of those cases. Studies on the frequency of defensive firearm uses in the United

States have determined that there are up to 2.5 million instances each year in which

civilians used firearms for home defense. Gary Kleck, Marc Gertz, Armed Resistance to

Crime: The Prevalence and Nature of Self-Defense with a Gun, 86 J. OF CRIM. L. &

CRIMINOLOGY 150, 164 (1995), (“Exhibit H”).

       Other common, lawful uses of the banned firearms are hunting and sport. At least

a third of all gun-owners use a firearm for hunting or sport shooting, and recreational

target shooting is a top reason for owning semiautomatic rifles like those banned by the

Act.

       It has been held that a firing-range ban was not merely regulatory because

it prohibited law-abiding citizens from engaging in target practice in a controlled

environment; the court noted that the ban amounted to a “serious encroachment” on the

right to maintain proficiency with a firearm, which was held to be an

“important corollary to the meaningful exercise of the core right to possess firearms for

self-defense.” Ezell v. City of Chicago, 651 F.3d 684, 708 (7th Cir. 2011).

       The banned features of semiautomatic firearms serve other legitimate purposes.

For example, folding and telescoping stocks allow for safe transportation, and ease


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carriage over long distances while hunting. Both telescoping stocks and protruding grips

open hunting and sport-shooting to those for whom recoil poses a challenge. Detachable

magazines have the same benefits in hunting and sport-shooting as they do in home

defense—improved reloading and remedying of malfunctions. And flash suppressors

promote accuracy in target-shooting and hunting (especially in reduced lighting

conditions).

       Assault weapons are not commonly used to commit crime. One study found that

these arms “are used in a small fraction of gun crimes.” Christopher Koper, et al., Updated

Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets and Gun Violence,

1994-2003 (2004), U.S. DEP’T OF JUST, (“Exhibit I”). According to FBI statistics in 2019

there were only 364 homicides known to be committed with rifles of any type, compared

to 6,368 with handguns, 1,476 with knives or other cutting instruments, 600 with personal

weapons (hands, feet, etc.) and 397 with blunt objects. U.S. Expanded Homicide Table 8,

Crime in the United States, DEP’T OF JUST. (FBI 2019), (“Exhibit J”).

III.   The Magazine Ban Under the Act

       The Act made it a crime to “manufacture, deliver, sell, purchase,” or “possess”

magazines it considers “large capacity ammunition feeding devices.” 720 ILCS 5/24-

1.10(b) and (c) (the “Magazine Ban”).

       The Act defines “large capacity ammunition devices” as “(1) a magazine, belt,

drum, feed strip, or similar device that has a capacity of, or that can be readily restored


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or converted to accept, more than 10 rounds of ammunition for long guns and more than

15 rounds of ammunition for handguns; or (2) any combination of parts from which a

device described in paragraph (1) can be assembled.” 720 ILCS 5/24-1.10(a)(1)-(2). The

Magazine Ban applies to any person within Illinois” and excepts from its regulation only

current and retired law enforcement officers, government agencies, prison officials,

members of the military, and certain private security contractors. 720 ILCS 5/24-1.10(e)(1)-

(7).

       Any non-exempt person who legally possessed a banned magazine before the

Act’s enactment now can only possess that magazine on a very limited set of premises

and must transport it only to and from those locations, unloaded and in a case. 720 ILCS

5/24-1.10(d). A violation of the Magazine Ban carries “a fine of $1,000 for each violation.”

720 ILCS 5/24-1.10(g).

       Although the Act defines magazines that can accept more than 10 rounds of

ammunition for long guns and those that can accept more than 15 rounds for handguns

as “large capacity magazines,” this is a misnomer. Magazines capable of holding more

than 10 or 15 rounds of ammunition are normal features of firearms in the United States

and are more accurately described as so-called “standard capacity magazines.”

       Approximately 39 million Americans have owned at least one magazine that holds

more than 10 rounds. 2021 National Firearms Survey: Updated Analysis Including Types of

Firearms Owned, (“Exhibit K”).


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       Many popular handguns are commonly sold with magazines holding more than

15 rounds of ammunition, and standard issue magazines for many popular rifles have a

capacity of more than 10 rounds. Magazines over 10 rounds are in common usage. NSSF,

Modern Sporting Rifle Comprehensive Consumer Report.

       Firearms capable of holding multiple rounds have existed since the 15th century,

and firearms capable of firing more than ten rounds without reloading have existed at

least since the 16th century. David B. Kopel, The History of Firearm Magazines and Magazine

Prohibitions, 78 ALB. L. REV. 849, 852–53 (2015), (“Exhibit L”).

       Firearms capable of firing multiple rounds without reloading were well known to

the founding fathers’ generation. In 1777, Joseph Belton demonstrated a repeating rifle

that could hold 16 rounds of ammunition to members of the Continental Congress.

Robert Held, THE BELTON SYSTEMS, 1758 & 1784–86: AMERICA’S FIRST REPEATING

FIREARMS 37 (1986). Belton also informed Congress that he could equip his rifle with

as many as 20 rounds at a time. Id. at 17.

       In the 19th century, multi-round rifles came into common usage. The 16-shot

Henry Rifle, invented in 1861, was very popular. Soon after, the first Winchester rifle was

produced it could hold 17 rounds in the magazine with one more in the chamber. Norm

Flayderman, FLAYDERMAN’S GUIDE TO ANTIQUE FIREARMS AND THEIR

VALUES 268 (6th ed. 1994).




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       Criminals will not be deterred by the Magazine Ban. Hundreds of millions of

magazines capable of holding more ten rounds are in circulation in America. It will not

be difficult for criminals to acquire them through illegal means.

IV.    Elements of the Preliminary Injunction

       The following argument is distilled from Plaintiffs’ request for injunctive and

declaratory relief based upon Second Amendment authorities cited above, and,

particularly, based upon the Supreme Court’s decisions in Heller, McDonald, and Bruen.

McHenry County Defendants respectfully submit that Plaintiffs have not established

sufficient proof to support any relief against McHenry County Defendants under 42

U.S.C. § 1983 and 42 U.S.C. § 1988 because there is no proof that McHenry County

Defendants have committed any conduct that violates said statutes.

       Notwithstanding the fact that McHenry County Defendants have not engaged in

any conduct that runs afoul § 1983 and § 1988, the preliminary injunction based upon

Plaintiffs’ request for declaratory relief because the Act violates the Second Amendment

as articulated in Heller, McDonald, and Bruen.

       The “assault weapons” are commonly possessed and used semiautomatic rifles.

The same is true regarding 10 round magazines for long guns and 15 round magazines

for handguns. As it pertains to “assault weapons,” the only difference vis-à-vis weapons

that are not identified by the Act as assault weapons, is that their distinguishing features

make them safer and easier to use. The Firearms Ban is effectively a ban on bearing


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semiautomatic firearms that are commonly possessed and used for lawful purposes,

including self-defense in the home. The Act’s Magazine Ban is effectively a ban on

bearing magazines that are commonly possessed and used for lawful purposes, including

self-defense in the home.

         As it relates to both the Firearms Ban and the Magazine Ban, contrary to New York

State Rifle & Pistol Ass'n v. Bruen, 142 S. Ct. 2111 (2022), the Act prohibits an individual’s

conduct that the Constitution presumptively protects. The Act cannot be justified as

regulation that it is consistent with America’s historical tradition of firearm regulation.

The Act does not impose a comparable burden on the right to bear arms that modern and

historical regulations have done. The burden imposed by the Act is not comparably

justified.



         Plaintiffs have established that they have a protectable interest and clearly

ascertained right that needs protection because the Act plainly violates the Second

Amendment.

         Plaintiffs have established that they are likely to succeed at a trial on the merits as

set forth above.

         There is no adequate remedy at law available to Plaintiffs for the exigencies alleged

above.

         If granted, entering injunctive relief would not cause injury to the general public.




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      Plaintiffs have established that they will suffer irreparable harm if injunctive relief

is not entered by the Court:


      (a)    Enjoining the enforcement of Illinois Public Act 102-1116;

      (b)    Declaring Illinois Public Act 102-1116 unconstitutional and unenforceable

in violation of the Second Amendment to the United States Constitution; and

      (c)    Any and all other relief that the Court deems just ands proper.

                                  Patrick D. Kenneally, McHenry County State’s Attorney
                                  Robb Tadelman, McHenry County Sheriff


                                  By: /s/ Troy C. Owens
                                      One of their Attorneys



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                                 CERTIFICATE OF SERVICE


        I hereby certify that on this 2nd day of March, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to all ECF filers.
                                                 /s/ Troy C. Owens




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